      Case 3:21-cv-00115-RDM-CA Document 29 Filed 11/03/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DYLAN SANCHEZ,                                      Civil No. 3:21-cv-115

               Plaintiff                            (Judge Mariani)

       V.

Tl NA LITZ, et al.,

               Defendants

                                            ORDER

       AND NOW, this ~              ay of November, 2021, upon consideration of the motion

(Doc. 22) to dismiss by Defendant Litz and the motion (Doc. 25) for judgment on the

pleadings by Defendant PrimeCare Medical, Inc., and for the reasons set forth in the

accompanying Memorandum, IT IS HEREBY ORDERED THAT:

       1.      The motions (Docs. 22, 25) are GRANTED.

       2.      Plaintiff's complaint (Doc. 1) is DISMISSED.

       3.      Plaintiff may file an amended complaint on or before November 15, 2021.

       4.      Failure to timely file an amended complaint will result in dismissal of this
               action without further notice of Court.




                                            Robert D. Mar· ni
                                            United States District Judge
